                                  NO. 12-24-00047-CR
                                      12-24-00048-CR
                                      12-24-00049-CR

                         IN THE COURT OF APPEALS

              TWELFTH COURT OF APPEALS DISTRICT

                                    TYLER, TEXAS

 JAN ANTONIO ESPINO,                             §      APPEAL FROM THE 294TH
 APPELLANT

 V.                                              §      JUDICIAL DISTRICT COURT

 THE STATE OF TEXAS,
 APPELLEE                                        §      VAN ZANDT COUNTY, TEXAS

                                 MEMORANDUM OPINION

       Jan Antonio Espino appeals his three convictions for aggravated assault with a deadly
weapon. In his sole issue, Appellant argues that the trial court improperly imposed duplicative
court costs in two of the cases. We affirm in trial cause number CR21-00113 (appellate cause
number 12-24-00047-CR) and we modify and affirm as modified in trial cause number CR21-
00114 (appellate cause number 12-24-00048-CR) and trial cause number CR21-00115 (appellate
cause number 12-24-00049-CR).
                                         BACKGROUND

       Appellant was charged by indictment with three offenses of aggravated assault with a
deadly weapon. In each case, Appellant entered an open plea of “guilty” and elected to have the
trial court assess his punishment. The trial court found Appellant “guilty” in each case and heard
evidence and argument regarding punishment. In trial cause numbers CR21-113 and CR21-114,
the trial court sentenced Appellant to five years of confinement. In trial cause number CR21-115,
the trial court sentenced Appellant to fifteen years of confinement and assessed a fine of $10,000.
The trial court ordered that the sentences would run concurrently.

                     ASSESSMENT OF DUPLICATIVE COURT COSTS AND FEES

       In his sole issue, Appellant argues that the imposition of court costs and fees in two of the
cases is improper because said court costs are duplicative of those assessed in the first case.
Applicable Law

       The Texas Code of Criminal Procedure provides as follows:
       (a) In a single criminal action in which a defendant is convicted of two or more offenses or of
           multiple counts of the same offense, the court may assess each court cost or fee only once
           against the defendant.
       (b) In a criminal action described by Subsection (a), each court cost or fee the amount of which is
           determined according to the category of offense must be assessed using the highest category of
           offense that is possible based on the defendant’s convictions.

TEX. CODE CRIM. PROC. ANN. art. 102.073(a), (b) (West 2018). In this context, we construe the
phrase “[i]n a single criminal action” to mean in a single trial or plea proceeding. Hurlburt v.
State, 506 S.W.3d 199, 203 (Tex. App.—Waco 2016, no pet.).
Analysis

       The record shows that the allegations and evidence of all three offenses were presented in
a single plea proceeding, or “criminal action.” See id. at 203-04. Therefore, the trial court was
authorized to assess each court cost and fee against Appellant only once. See TEX. CODE CRIM.
PROC. ANN. art. 102.073(a). When, as here, the convictions are for the same category of offense
and the costs are the same, the costs and fees should be assessed in the case with the lowest trial
court cause number. See Williams v. State, 495 S.W.3d 583, 590 (Tex. App.—Houston [1st Dist.]
2016, pet. dism’d, improvidently granted, No. PD-0947-16, 2017 WL 1493488 (Tex. Crim. App.
Apr. 26, 2017)) (not designated for publication); see also Shuler v. State, 650 S.W.3d 683, 690
(Tex. App.—Dallas 2022, no pet.). The judgment in the case with the lowest trial court cause
number, CR21-00113 (appellate cause number 12-24-00047-CR), shows an assessment of court
costs and fees totaling $325, and the judgments in both of the other cases likewise show the
assessment of court costs and fees totaling $325. In each case, the assessed court costs and fees
included local consolidated court costs of $105, state consolidated court costs of $185, a time
payment fee of $15, a fee of $10 for committing or releasing from jail, and a fee of $10 for taking
and approving bond.


                                                       2
         We sustain Appellant’s issue as to the duplicative court costs and fees assessed against him
in trial cause numbers CR21-00114 and CR21-00115. We have the authority to correct a trial
court’s judgment to make the record speak the truth when we have the necessary data and
information to do so. Asberry v. State, 813 S.W.2d 526, 529 (Tex. App.—Dallas 1991, pet. ref’d).
Because we have the necessary data and information to correct the amount of court costs and fees
in trial cause numbers CR21-00114 and CR21-00115, we conclude that the judgments, the attached
order to withdraw funds, and the bill of costs in those cases should be modified to remove the
duplicate court costs and fees totaling $325. See id.; see also TEX. R. APP. P. 43.2(b).


                                                  DISPOSITION

         Having sustained Appellant’s issue as to trial cause numbers CR21-00114 and CR21-
00115, we modify the trial court’s judgment, Order to Withdraw Funds, and bill of costs in said
trial court cause numbers (appellate cause numbers 12-24-00048-CR and 12-24-00049-CR) to
reflect that the amount of court costs and fees is $0.00. See TEX. R. APP. P. 43.2(b). In all other
respects, we affirm the trial court’s judgments in trial cause numbers CR21-00114 and CR21-
00115 (appellate cause numbers 12-24-00048-CR and 12-24-00049-CR) as modified. We affirm
the trial court’s judgment in trial cause number CR21-00113 (appellate cause number 12-24-
00047-CR).

                                                                  BRIAN HOYLE
                                                                     Justice

Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.

                                             (DO NOT PUBLISH)




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                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00047-CR


                                      JAN ANTONIO ESPINO,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 294th District Court
                      of Van Zandt County, Texas (Tr.Ct.No. CR21-00113)

                    THIS CAUSE came to be heard on the appellate record and brief filed herein,
and the same being considered, it is the opinion of this court that there was no error in the judgment.
                    It is therefore ORDERED, ADJUDGED, and DECREED that the judgment of
the court below be in all things affirmed, and that the decision be certified to the court below for
observance.


                    Brian Hoyle, Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00048-CR


                                      JAN ANTONIO ESPINO,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 294th District Court
                      of Van Zandt County, Texas (Tr.Ct.No. CR21-00114)

                    THIS CAUSE came to be heard on the appellate record and brief filed herein,
and the same being considered, it is the opinion of this court that the judgment of the court below
should be modified, and as modified, affirmed.
                    It is therefore ORDERED, ADJUDGED, and DECREED that the judgment of
the court below is modified to reflect that the amount of court costs and fees is $0.00; in all other
respects, the judgment of the trial court is affirmed; and that the decision be certified to the court
below for observance.


                    Brian Hoyle, Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00049-CR


                                      JAN ANTONIO ESPINO,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 294th District Court
                      of Van Zandt County, Texas (Tr.Ct.No. CR21-00115)

                    THIS CAUSE came to be heard on the appellate record and brief filed herein,
and the same being considered, it is the opinion of this court that the judgment of the court below
should be modified, and as modified, affirmed.
                    It is therefore ORDERED, ADJUDGED, and DECREED that the judgment of
the court below is modified to reflect that the amount of court costs and fees is $0.00; in all other
respects, the judgment of the trial court is affirmed; and that the decision be certified to the court
below for observance.

                    Brian Hoyle, Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
